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AO 199A (Rev. 06/19) Order Setting Conditions of Release EasterrPagdsiofict
FES
UNITED STATES DISTRICT COURT jy 2.0 2924
for the

AT LEXINGTON
Eastern District of _ Kentucky Robert BR. Carr
CLERK US. DISTRICT COURT

United States of America
Vv.

Case No. Information "| : 2y -fy- (4- l

Don V. Bryson

Nee ee ee eee ee”

Defendant
ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34 U.S.C. § 40702.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: United States Courthouse, Pikeville, Kentucky

Place

on As directed

Date and Time
If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
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ADDITIONAL CONDITIONS OF RELEASE

Pursuant to 18 U.S.C, § 3142(c)(1)(B), the court may impose the following least restrictive condition(s) only as necessary to reasonably assure the
appearance of the person as required and the safety of any other person and the community,

IT 1S FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(C) (6) The defendant is placed in the custody of:
Person or organization

Address (only if above is an organization)

City and state Tel. No.

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody.

Signed:

Custodian Date
(BE) (7) The defendant must:
(1) (a) submit to supervision by and report for supervision to the United States Probation Office, Pikeville, Kentucky
telephone number 606-437-6320 — , no later than _as directed .
(.)) (b) continue or actively seek employment.
(1) (c) continue or start an education program.

(KX) ) (d) surrender any passport to: United States Probation Office

(EX}) (e) not obtain a passport or other international travel document.
(X}) (f) abide by the following restrictions on personal association, residence, or travel: Travel is restricted to the confines of the

Eastern District of Kentucky

(1) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including: but not limited to, any and all co-defendants or potential co-defendants, except in the presence of counsel.

(EX) (h) get medical or psychiatric treatment: The defendant must continue medical treatment.
(C1) (_ return to custody each at o’clock after being released at o’clock for employment,

schooling,

or the following purposes:

(C)) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer
considers necessary.

(X}) (k) not possess a firearm, destructive device, or other weapon,

(CJ) (1) notuse alcohol( [J )atall( [2] ) excessively,

(1) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C, § 802, unless prescribed by a
medical practitioner.

(C1) () submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used
with random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency
and accuracy of prohibited substance screening or testing.

(C1) (©) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office
or supervising officer.

(LJ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.

(C]) @) Curfew. You are restricted to your residence every day ( [] ) from to ,or (LC) )
as

directed by the pretrial services office or supervising officer; or

((]) (ii) Home Detention, You are restricted to your residence at all times except for employment; education; religious services;
medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or
other activities approved in advance by the pretrial services office or supervising officer; or

(1) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities
and court appearances or other activities specifically approved by the court; or

(C) ) (iv) Stand Alone Monitoring. You have no residential curfew, home detention, or home incarceration restrictions.
However, you must comply with the location or travel restrictions as imposed by the court.
Note: Stand Alone Monitoring should be used in conjunction with global positioning system (GPS) technology.
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ADDITIONAL CONDITIONS OF RELEASE

(C1) (q) submit to the following location monitoring technology and comply with its requirements as directed:

(C1) @) Location monitoring technology as directed by the pretrial services or supervising officer; or
(O ) Gi) Voice Recognition; or

(C1 ) (iii) Radio Frequency; or

(C1) (iv) GPS.

pay all or part of the cost of location monitoring based upon your ability to pay as determined by the pretrial services or
supervising officer.

report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel, including
arrests, questioning, or traffic stops.

notify the U.S. Probation Office of any controlled substance prescription and must follow said prescription as directed by a
licensed

medical practitioner.

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ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment i is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year, This sentence will be
consecutive (7.¢., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation
are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable, by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) amisdemeanor— you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant

Tacknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions set forth above.

KA day

efendant's Signature

Lexington, Kentucky

City and State

Directions to the United States Marshal

( J) The defendant is ORDERED released after processing.

( CJ ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
the appropriate judge at the time and place specified.

™ Judicial Officer's Signature

pe: bw. AO, ROAY Sheu ¢. Gatdutll
~t -
\ cmt Karen K. Caldwell

Printed name and title

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